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                                                        Case No. 24-142

                                                               In the

                    3Hniteh évtatez Qlnurt it' Appeals
                                                               for the

                                                  Ninth Glirruit
                    PAM POE, by and through her parents and next friends, Penny and Peter Poe,
                 PENNY POE, PETER POE, JANE DOE, by and through her parents and next friends,
                               Joan and John Doe, JOAN DOE, JOHN DOE, et al.,
                                                Plainly s-Appellees,
                                                          v.
                                               RA0L LABRADOR,
                        in his official capacity as Attorney General of the State of Idaho,
                                               Defendant-Appellant,
                                                         and
              JAN M. BENNETTS, in her official capacity as County Prosecuting Attorney for Ada, Idaho,
             INDIVIDUAL MEMBERS OF THE IDAHO CODE COMMISSION, in their official capacities,
                                                    Defendants.

                     On Appeal from the United States District Court for the District of ldaho (Boise),
                      The Honorable B. Lynn Windmill, District Judge, Case No. 1:23-cv-00269-BLW

                BRIEF OF AMICI CURIAE BIOMEDICAL ETHICS AND PUBLIC HEALTH
               SCHOLARS IN SUPPORT OF PLAINTIFFS-APPELLEES AND AFFIRMANCE

                  KATELYN KANG                                           KATHLEEN HARTNETT
                  VALERIA PELET DEL ToRo                                 ZOE HELSTROM
                  COOLEY LLP                                             COOLEY LLP
                  55 Hudson Yards                                        3 Embarcadero Center, 20th Floor
                  New York, NY 10001 -2103                               San Francisco, California 94111-4004
                  Telephone: (212) 479-6000                              Telephone: (415) 693-2000
                  k1<ang@cooley.com                                      khartnett@cooley.com
                  vpeletdeltoro@cooley.com                               zhelstrom@cooley.com
                                                                         ELIZABETH F. REINHARDT
                                                                         COOLEY LLP
                                                                         1299 Pennsylvania Avenue, NW
                                                                         Washington, DC 20004-2400
                                                                         Telephone: (202) 842-7800
                                                                         ereinhardt@cooley.com
                                                      Counsel for Amici Curiae


             9   COUNSEL PRESS INC.. (213) 680-2300                                    PRINTED On RECYCLED PAPER
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                  STATEMENT OF IDENTITY AND INTEREST OF AMICI CURIAE1

                    Amici curiae listed in the Appendix are professors of law, medicine, and

             public health who teach and write about biomedical ethics and health-related rights

             and discrimination. Biomedical ethics, sometimes referred to as bioethics, is "the

             discipline of ethics dealing with moral problems arising in the practice of medicine

             and the pursuit of biomedical research." J. R. Verina et al., Issues in biomedical

             ethics, 39 Disease-a-Month 869 (1993), https://pubmed.ncbi.nlm.nih.gov/8243220.

             Amiei have a strong interest in ensuring that principles of biomedical ethics are

             accurately described and properly applied. They submit this brief to explain how

             Idaho House Bill 71, codified at Idaho Code § 18-1506C, is inconsistent with

             foundational principles of biomedical ethics.




             1 Amiei certify that no person or entity, other than rici curiae or their counsel, made
             a monetary contribution to the preparation or submission of this brief or authored
             this brief in whole or in part. Fed. R. App. P. 29(a)(4)(E). The parties have
             consented to the filing of this brief. Fed. R. App. P. 29(a)(2).

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                                    STATEMENT OF THE ISSUES

                    Whether the District Court correctly enjoined Defendants-Appellants from

             enforcing House Bill 71, codified at Idaho Code § 18-1506C.




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                                    SUMMARY OF THE ARGUMENT

                    From flu shots to cancer treatments, medical providers regularly support

             patients (and their parents, when the patients are minors) in deciding whether a given

             medical treatment is necessary and appropriate for them, without any undue

             interference from the State.

                    The Idaho law at issue in this appeal, House Bill 7 l , codified at Idaho Code §

             18-1506C, (the "Healthcare Ban" or the "Ban"), upends that normal operation of

             medical practice for a specific, targeted group of patients: transgender minors

             seeking gender-affirming medical care for gender dysphoria. The Ban outlaws the

             normal course of medical decision-making for these individuals, under which a

             patient, their parents, and their medical providers carefully deliberate to make an

             informed, individualized decision about whether gender-affirming care is medically

             appropriate and in the best interest of the particular patient. The State imposed this

             sweeping Ban even though every major medical organization in the United States

             has concluded that gender-affirming care, including for minors, is not only safe and

             effective, but is the only evidence-based treatment for gender dysphoria.

                    Categorically barring patients from accessing evidence-based treatment is

             irreconcilable with foundational precepts of biomedical ethics, particularly where,

             as here, that treatment is the only evidence-based treatment available for a given

             medical need and the prohibition applies only to a group of patients singled out



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             because of their identity.

                    As explained further below, core principles of biomedical ethics include

             respect for autonomy, beneficence, and justice. The Healthcare Ban deprives

             transgender patients of their ability to receive medically necessary and appropriate

             treatment to which they have given informed consent (autonomy). It forces

             providers to deny their patients care that is known to alleviate suffering, and thus to

             abandon their patients to serious physical and mental harm (beneficence). And it

             compels providers to deny care that only patients who are transgender need, thereby

             exacerbating stigma and inequity and damaging trust in the medical profession

             (justice).

                    Idaho tries to justify these harms by suggesting that gender-affirming care

             lacks a sound evidentiary base.          That position is unfounded and badly
             misunderstands how medical knowledge is credibly generated. Randomized control

             trials are not, and have never been, requisite for medical care to be considered

             appropriate, and in fact are ill-suited for many types of treatment. Nor must

             longitudinal studies always be of a particular duration to be reliable. And off-label

             use is legal, commonplace, and often necessary to serve a patient's best interest. The

             gender-affirming care prohibited by the Healthcare Ban has been developed through

             rigorous and appropriate methods and rests on a strong evidentiary basis.

                    In sum, the Healthcare Ban singles out and effectively bans gender-affirming


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             care for transgender patients based on false notions of science, public health, and

             biomedical ethics, without considering the grave harm that will come from denying

             vulnerable patients critical health care. This Court should affirm the District Court's

             order.

                                                 ARGUMENT
             1.       GENDER-AFFIRMING CARE TO TREAT GENDER DYSPHORIA IS
                      SUPPORTED BY A SUBSTANTIAL BODY OF EVIDENCE THAT
                      DOES NOT JUSTIFY SINGLING IT OUT FOR DIFFERENTIAL
                      TREATMENT.

                      The gender-affirming care prohibited by the Healthcare Ban was developed

             through rigorous and appropriate methods and is recommended by every major

             medical association in the United States. Kellan Baker, The Future of Transgender

             Coverage, 376 New Eng. J. Med. 19, 1801-04 (May 2017), Ayden I. Scheim et al.,

             Health and Health Care Among Transgender Adults in the United States, 43 Annual

             Rev. of Pub. Health 503, 510 (2021), see also Gesine Meyer et al., Safely and rapid

             e]§7cacy of guideline-based gender-a]§7rming hormone therapy: an analysis of 388

             individuals diagnosed with gender dysphoria, European J. of Endocrinology 155

             (2020).        Nonetheless, the State characterizes gender-affirming care as

             "experimental" and questionable treatment that has not been sufficiently vetted,

             pointing to the lack of randomized control trials supporting the efficacy of hormone

             therapy, the duration of the longitudinal studies completed to date, and what the State

             calls "low quality" or "very low quality" evidence on gender affirming care. See


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             Appellants' Br. 1-2, 4-6, 15, 17-18, 20, 23, 32, 41. Likewise, the State's purported

             experts emphasize that using puberty blockers and hormone therapy to treat gender

             dysphoria is not approved by the U.S. Food and Drug Administration (the "FDA"),

             suggesting that the FDA's silence on this particular use implies that the care is

             experimental or harmful. Id. at 33.

                    These claims about gender affirming care are wrong. As the District Court

             found, the medical care targeted by the Ban is supported by a strong evidentiary

             base, both in and of itself and compared to the evidentiary basis underlying many

             other forms of commonly provided care. District Court Memorandum Decision and

             Order ("Order") at ER-024, ER-050-52. The State's attempts to justify the Ban

             reflect a fundamental misunderstanding of medical practice and the ways medical

             knowledge and treatment guidelines are generated, particularly in the context of

             pediatric care. Medical providers are not and have never been restricted to providing

             only those treatments that have been generated via randomized control trial and

             received FDA approval for the particular indication. Indeed, as explained herein,

             such restrictions would be impractical and unethical. The medical care targeted by

             the Ban is based on appropriate, ethical study and medical knowledge it is not

             "experimental."

                    To start, the State conflates clinical care with clinical research and fails to

             engage with the ethical standards attendant to each. Medical care delivered by a


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             clinician to a patient and clinical research have distinct purposes and processes. See,

             e.g., Nat'l Comm'n for the Protection of Hum. Subjects of Biomedical Rsch., The

             Belmont Report: Ethical Principles and Guidelines for the Protection of Human

             Subjects of Research (1978) (discussing the importance of distinguishing between

             research and clinical practice), U.S. Food & Drug Admin., Clinical Research Versus

             Medical Treatment (Mar. 22, 2018), https://www.fda.gov/patients/clinical-trials-

             what-patients-need-know/clinical-research-versus-medical-treatment         (describing

             differences between clinical research and medical treatment in terms of intent,

             intended benefit, funding, timeframe, and other factors). In the clinical care setting,

             the provider's aim is to improve a patient's health, and the provider is duty bound to

             act in that patient's best interest. By contrast, the aim of a research study is to

             generate knowledge useful for future patients. See Jose A. Sacristan, Clinical

             Research and Medical Care: Towards Ejective and Complete Integration, 15 BMC

             Med.           Res.     Methodol.         (2015),       https://www.ncbi.nlm.nih.gov

             / pmc/articles/PMC4323129/.       A research study's protocols must be ethically

             designed and administered, but there is no obligation to do what is in each

             participant's best interest. Importantly, receiving gender-affirming care for gender

             dysphoria does not automatically render a patient a subject of a research study (and

             certainly not a subj ect of experimentation unmoored from ethical standards), gender-

             affirming medical care has been known to advance individual patients' best interests



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             and is provided as clinical care for that purpose. The use of the label "experimental"

             in this context is thus misleading.

                    Further, the State's arguments misconceive how medical knowledge is

             credibly and rigorously generated, and so, among other things, wrongly suggest that

             the lack of randomized control trials means the care has not been appropriately

             vetted. See, e.g., Eknes-Tucker V. Governor of Alabama, 80 F.4th 1205, 1217 (11th

             Cir. 2023) (citing witness emphasizing lack of randomized studies). But there is no

             one method used to generate medical knowledge in all contexts, and no one method

             is considered requisite to a treatment being deemed medically appropriate. Rather,

             medical knowledge and practice are informed by a range of research and clinical

             inputs that are often dependent on the type of care, context, and state of development.

                    A randomized control trial where some participants are randomly assigned

             to a treatment group and others are randomly assigned to a control group is one of

             many types of credible research designs used to evaluate a medical intervention.

             Medical interventions also can be and often are evaluated through observational

             studies, which include cross-sectional studies (based on data collected from a single

             point in time), and longitudinal studies (based on data collected from particular

             individuals over time). See, e.g., Edward L. Hannah, Randomized Clinical Trials

             and Observational Studies: Guidelines for Assessing Respective Strengths and

             Limitations,   1(3) JACC: Cardiovascular Interventions 211-17 (2008),


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             https://www.sciencedirect.com/science/article/pii/S 1936879808001702.               In

             addition, randomized clinical trials, which compare different established

             interventions to one another, may be used to inform medical treatment. For example,

             a randomized clinical trial has been used to evaluate sex hormone treatment for

             gender dysphoria, comparing different, established pharmacological treatments to

             one another. See Carla Pelusi et al., E]§"eets of Three DQ§"erent Testosterone

             Formulations in Female-to-Male Transsexual Persons, 11 J. Sex Med. 3002-11

             (2014), https://www.jsm.jsexmed.org/article/S1743-6095(15)30626-3/fulltext.

                    Study methods other than randomized control trials and extended longitudinal

             studies may be preferable in some circumstances, given that these are not always

             feasible, appropriate, or the most reliable way to evaluate a medical intervention.

             For instance, randomized control trials are rarely used for interventions focused on

             children or pregnant people, or for surgical interventions. See, e. g. , Denise Thomson

             et al., Controlled Trials in Children: Quantity, methodological quality and

             descriptive characteristics of Pediatric Controlled Trials published 1948-2006, 5

             PLoS One (2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2948021/,

             Katrien Oude Rengerink et al., Pregnant women 's concerns when invited to a

             randomized trial: A qualitative case control study, 15 BMC Pregnancy and

             Childbirth     207    (2015),   https://bmcpregnancychildbirth.biomedcentral.com/

             articles/10. 1186/512884-015-0641-x, Natalie S. Blencowe et al., Interventions in



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             randomized controlled trials in surgery: issues to consider during trial design, 16

             Trials (2015), https://doi.org/10.1186/513063-015-0918-4. Randomized control

             trials also are only ethical when there is clinical "equipoise," which means they are

             only appropriate when there is genuine uncertainty about whether the intervention

             will be more effective than the control. See Benjamin Freedman, Equipoise and the

             Ethics     of Clinical Research, 317 N. Engl. J. Med. 141-45 (1987),

             https://www.nejm.org/doi/full /10. 1056/NEJM198707163170304. That is because it

             is unethical to knowingly expose participants to an inferior intervention or control.

             For example, in acknowledging limitations to its analysis, a 2023 open-label

             randomized clinical trial assessing the effect on gender dysphoria, depression, and

             suicidality of testosterone therapy compared with no hormone treatment explained

             that the trial was limited to three months in order to insure that "participants would

             not be disadvantaged by waiting longer than standard of care waiting times of 3

             months for an initial consultation." Brendan J. Nolan et al., Early Access to

             Testosterone Therapy in Transgender and Gender-Diverse Adults Seeking

             Masculinization: A Randomized Clinical Trial, JAMA Network Open (2023),

             https://jamanetwork.com/journals/jamanetworkopeWfullarticle/2809058.

                      This principle plainly applies to the treatments for gender dysphoria subject

             to the Ban: performing randomized, placebo-controlled trials on the efficacy of that

             treatment would be unethical, because the prevailing view among the medical


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             community based on the existing evidence is that for patients who need it, hormone

             therapy is superior to a lack of pharmacological treatment. See id.

                    The State's critique of the lack of research regarding the "long-term" safety

             and efficacy of gender-affirming care is also wrong. Appellants' Br. 8-9. In reality,

             there are many long-term studies supporting the provision of gender-affirming care

             to treat gender dysphoria, including for minors   Moreover, the underlying premise

             of this argument that long-term studies are necessary to prove a treatment's

             efficacy and safety is mistaken. Longitudinal studies need not last for some

             unspecified "long-term" period to be reliable, nor are such studies always the most

             ethically and legally appropriate. Often, other reliable and trustworthy methods are

             preferable. For example, before conducting longitudinal studies involving children,

             researchers must consider a child's privacy and autonomy all while maintaining data

             integrity a sometimes difficult balancing act that can be avoided by using an


             2
               See, e.g., Jack L. Turban et al., Access to gender-a]§7rming hormones during
             adolescence and mental health outcomes among transgender adults, 17(1) PLoS
             ONE 2 (2022), https://doi.org/10.1371/joumal.pone.0261039 (collecting studies),
             Katherine L. Kraschel et al., Legislation restricting gender-a]§9rming care for
             transgender youth: Politics eclipse healthcare, 3(8) Cell Reports Medicine 4 (2022),
             https://doi.org/10.1016/j.xcrm.2022.l00719 ("Over a dozen studies have
             collectively linked [gender affirming care] to improvements in depression, anxiety,
             and suicidality."), see also 8randt v. Rutledge, 47 F.4th 661, 671 (8th Cir. 2022)
             ("According to surveys of the research on hormone treatment for adolescents done
             by the British National Institute for Health & Care Excellence, several studies have
             shown statistically significant positive effects of hormone treatment on the mental
             health, suicidality, and quality of life of adolescents with gender dysphoria. None
             has shown negative effects.").

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             alternative study design. See, e.g., Gert Helgesson, Children, Longitudinal Studies,

             and Informed Consent, 8 Med., Health Care & Philos. 307 (2005),

             https://doi.org/10. 1007/sl 1019-005-0978-4.

                    The State also betrays its erroneous understanding of what it means for

             evidence to be graded as "low-quality." Appellants' Br. 9, 12. Under the GRADE

             system, which is often used for presenting summaries of scientific evidence and

             making clinical practice recommendations, the level of quality ascribed to evidence

             is based on the type of research methodology used evidence generated via a

             randomized control trial is typically labeled "high quality" and evidence generated

             via an observational study is typically labeled "low quality." Howard Balshem et

             al., GRADE guidelines: 3. Rating the quality of evidence, 64(4) J. Clinical

             Epidemiol. 401 (2011), Holger Schtinemann et al. (eds.), Grading of Recommend.,

             Assess., Dev. & Evil. Handbook 14 (2013) ("GRADE Handbook"). Randomized

             trials with limitations such as inconsistent results or publication bias will go down

             in quality, and observational studies with a dose-response gradient (relationship

             between a stimulus and a response) or large magnitude of effect will go up in quality.

             GRADE Handbook at 13.

                    These "high quality" and "low quality" labels under GRADE thus are

             descriptive of the underlying method, but they do not necessarily reflect the

             reliability of the evidence generated. As noted, observational studies are sometimes


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             favored for both ethical and practical reasons. For example, despite their "low

             quality" technical category, observational studies have been used in forming the

             Cholesterol Guidelines of the American College of Cardiology and the American

             Heart Association. See Meredithe McNamara et al., A Critical Review of the June

             2022 Florida Medicaid Report on the Medical Treatment of Gender Dysphoria, Yale

             Sch. of Med. 1, 16 (2022). The same is true for a range of other treatments, from

             gallbladder surgery to the determination that aspirin is not appropriate to treat fevers

             in children. See id. at 14, 16. And with gender-affirming medical care to treat gender

             dysphoria, randomized control trials are not appropriate for the reasons described

             above. Because randomized control trials are often inappropriate or infeasible,

             research that falls in the technical category of "low quality" as that term is used in

             the GRADE system can still be reliable and valuable when it comes to clinical

             practice. See McNamara at 15.

                    Rather, "low-quality" evidence may be and often is sufficient to justify a

             strong recommendation for clinical care under that same grading system. See

             GRADE Handbook at 5, Balshem at 402-04 ("A particular level of quality does not

             imply a particular strength of recommendation. Sometimes, low or very low quality

             evidence can lead to a strong recommendation."). Accordingly, the treatment for

             many other conditions, such as drugs for cancer and hematologic disorders, are

             widely recommended and used based on similarly "low-quality" evidence, without


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             having been studied through randomized, controlled clinical trials. See Anthony J.

             Hatswell et al., Regulatory approval of pharmaceuticals without a randomised

             controlled study: analysis ofEMA and FDA approvals 1999-2014, BMJ Open (June

             30, 2016), https://pubmed.ncbi.n1m.nih.gov/27363818/. Indeed, if the "low-quality"

             label were enough to render care suspect, whole swaths of modern care for which

             randomized control trials are inappropriate for ethical and/or practical reasons would

             be called into question. See Robert J. Ligthelm et al., Importance of observational

             studies   in   clinical practice,   29(6)    Clinical   Therapeutics   1284   (2007),

             https://pubmed.ncbi.nlm.nih.gov/18036390/ (noting that observational evidence is

             sometimes favored for both ethical and practical reasons).

                    Furthermore, and contrary to the claims of the State's experts, a medication

             need not be approved by the FDA for a particular indication to be safe and effective

             for that indication. Off-label drug use is legal, accepted, and, when medically

             indicated, safe and in service of a patient's best interest. See Planned Parenthood

             Cincinnati Region v. Taft, 444 F.3d 502, 505 (6th Cir. 2006) (observing that off-

             label use is "a widely employed practice").

                    An understanding of the FDA approval process makes clear why there is

             nothing unsafe or inappropriate about off-label use. Garnering the FDA's approval

             of a drug requires showing that it is both safe i.e., the benefits outweigh the

             potential risks and effective for its intended use. See U.S. Food & Drug Admin.,


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             The FDA 's Drug Review Process: Ensuring Drugs Are Safe and Ejective (Nov. 24,

             2017), https ://www. fda. gov/drugs/informatiomconsumers-and-patients-drugs/fdas-

             drug-review-process-ensuring-drugs-ar@safe-and-effective. It is well-established

             practice that once a drug has been approved by the FDA, health care providers may

             then prescribe it for other medically appropriate uses and in other dosages at their

             discretion without pharmaceutical companies first having to return to the FDA and

             seek approval for each indication. See Taft, 444 F.3d at 505. Such off-label use

             occurs because medical knowledge about how a drug might be beneficial in a

             different context or a different dosage continues to develop after FDA approval, but

             it is often too costly and impractical for drug makers to put each possible use of a

             drug through the FDA's "formal, lengthy, and expensive" approval process. Am.

             Cancer         Soc'y,    Ojj"-Label      Drug        Use       (Mar.     17,     2015),

             https://www.cancer.org/treatment/treatments-and-side-effects/treatment-types/off-

             label-drug-use.html (noting that off-label drug use is "well-documented and very

             common in" oncology, "pediatrics and HIV/AIDS care"). In addition, providers

             often prefer that drug makers not seek approval for every off-label use, given that it

             could increase the cost of the drug and limit the scope of its clinical application, all

             of which would make it less available to their patients. See id., Cong. Rsch. Serv.,

             O#-Label        Use     of    Prescription        Drugs    4     (Feb.     23,   2021),

             https://sgp.fas.org/crs/misc/R45792.pdf.



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                    Off-label use of medication is common and "generally accepted." Beckman

             Co. v. Pls. ' Legal Comm., 531 U.S. 341, 351 (2001), Christopher M. Wittich et al.,

             Ten common questions (and their answers) about o]§"-label drug use, 87 Mayo Clinic

             Proc. 982-990 (2012), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3538391/

             (discussing off-label drug uses that have "become widely entrenched in clinical

             practice and become predominant treatments for a given clinical condition" and

             citing studies showing that in a group of commonly used medications, 21% of

             prescriptions were for off-label use). For example, about half of drugs used to treat

             cancer are prescribed off label.            See Am. Soc'y of Clinical Oncology,
             Reimbursement for cancer treatment: Coverage of ojj"-label drug indications, 24 J.

             Clinical       Oncology      3206-08      (2006),     https://ascopubs.org/doi/10. 1200/

             JCO.2006.06.8940.

                    Off-label use is legal because FDA approval only limits how a drug can be

             marketed       i. e. , a drug cannot be marketed for a use different from its FDA-approved

             use but not how a physician can prescribe it. See Beckman, 531 U.S. at 351 & n.5

             (explaining that "[o]ff-label usage ... is an accepted and necessary corollary of the

             FDA's mission to regulate in this area without directly interfering with the practice

             of medicine"), John J. Smith, Physician Modification of Legally Marketed Medical

             Devices: Regulatory Implications Under the Federal Food, Drug, & Cosmetic Act,

             55 Food & Drug L.J. 251-52 (2000) (discussing off-label use and noting that


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             "regulatory efforts are directed primarily at device marketing by manufacturers, not

             device use by physicians").

                    In fact, multiple federal and state laws have been enacted in recent years to

             promote and protect off-label prescriptions. See, e.g., Idaho Code § 39-9404 (2022)

             (allowing patents to take investigational drugs, biological products, or devices under

             Idaho's "Right to Try and Provide" law), Am. Soc'y of Clinical Oncology, Recent

             Developments in Medicare Coverage ofOLal9el Cancer Therapies, 5 J. Oncology

             Practice 18-20 (2009), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2790627/

             (discussing 1993 legislation requiring Medicare to cover off-label uses of anti-cancer

             drugs and an expansion of Medicare's off-label coverage in 2008).

                    Off-label use is especially common and important in treating minors. Minors

             are often excluded from clinical drug studies, including for ethical reasons. See

             Wittich (citing study finding that nearly 80% of children discharged from pediatric

             hospitals were taking at least one off-label medication and discussing range of

             widely practiced off-label drug uses in pediatric population), H. Christine Allen et

             al., OLol9el Medication Use in Children, More Common Than We Think: A

             Systematic Review of the Literature, 111 J. Okla State Med. Assoc. 776-83 (2018),

             https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6677268 (surveying ten years of

             literature and finding that "[t]he use of off-label medications in children remains a

             common practice for pediatric providers").


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                    Finally, and critically, off-label use is often essential for delivering the best

             care. James M. Beck & Elizabeth D. Azari, FDA, O Label Use, and Informed

             Consent: Debunking Myths and Misconceptions, 53 Food & Drug L.J. 71-104

             (1998), https://pubmed.ncbi.n1m.nih.gov/11795338/ ("Off-label use is widespread in

             the medical community and often is essential to giving patients optimal medical care,

             both of which medical ethics, FDA, and most courts recognize."), William Janssen,

             A Historical Perspective on 0]j Lol9el Medicine: From Regulation, Promotion, and

             the First Amendment to the Next Frontiers, SSRN Elec. J. (2014),

             https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2519223 (explaining that in

             some circumstances, "a physician's failure to prescribe the medical product for such

             an unapproved use can constitute medical malpractice").

                    Thus, off-label use is legal, common, and often essential for delivering

             medically necessary care. Any suggestion otherwise        including the Sixth Circuit's

             contention, embraced by the Eleventh Circuit, that off-label use signals that "the

             FDA is not prepared to put its credibility and testing protocols behind the [drug's]

             use," LW V. Skrmetti, 83 F.4th 460, 478 (6th Cir. 2023), see also Eknes-Tucker, 80

             F.4th at 1225 n. 19 greatly misunderstands and misstates how the FDA works.
                                                      * * *


                    In sum, none of the State's proclaimed "justifications" for the Healthcare Ban

             hold up to scrutiny. Rather, the State's arguments are based on a fundamental


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             misunderstanding of both how scientific knowledge is generated and the FDA

             approval process. Contrary to the State's claims, the Healthcare Ban does not

             prohibit treatment that is "experimental." Treatment methods also do not require a

             randomized control trial, observational studies of a specific length, exclusively "high

             quality" evidence, or on-label use to be safe and effective. Indeed, were the State's

             erroneous arguments an acceptable basis for excluding medical care coverage, a

             significant portion of modern medical practice could be excluded from coverage,

             including almost all forms of pediatric health care, much of adult health care, and a

             significant portion of cancer care, and would inflict unjustifiable harm on minors

             who are transgender.

             II.    THE HEALTHCARE BAN CONTRAVENES KEY TENETS OF
                    BIOMEDICAL ETHICS.
                    The Healthcare Ban eliminates a patient's ability to make a decision, together

             with their medical providers and parents (where patient is a minor), about whether

             accessing a safe and effective form of treatment is in their best interest. As a result,

             the Ban is directly at odds with key tenets of biomedical ethics: respect for

             autonomy, beneficence, and justice. Tom L. Beauchamp & James F. Childless,

             Principles of Biomedical Ethics, 13 (8th ed. 2019). These universal principles,

             which are the cornerstones of modern-day healthcare standards, guide providers'

             treatment decisions regardless of the type of medical care they are providing, and

             can provide "meaningful guidance" to courts assessing wholesale bans on and/or

                                                       19
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             exclusions of coverage for care. Contra LW, 83 F.4th at 478. To be clear,        rici
             do not invoke these principles to suggest that they provide the legal test pursuant to

             which judges should "assess the validity of [the Ban]." Id. Rather, rici discuss

             how the Ban compromises these principles rather than protecting them. Amiei have

             a strong interest in ensuring that courts and policymakers alike have an accurate

             understanding of bioethics, and the discussion that follows accordingly explains why

             the Ban is irreconcilable with bioethical principles and therefore why any asserted

             interest in advancing bioethics should not be credited.

                    A.      The Healthcare Ban Forces Providers to Disregard Patients'
                            Autonomy.
                    As a general matter, Idaho has repeatedly acknowledged the importance of

             obtaining informed consent and respecting patient decision-making, reflecting the

             core biomedical ethical principle of respect for autonomy. That principle requires

             that patients have the ability to decide whether to receive appropriate medical care

             within the framework of informed consent. Beauchamp & Childress at 105. For

             example, Idaho has rendered the failure to adequately obtain informed consent

             tortious and has created a standard jury instruction on how to evaluate the negligent

             failure to obtain informed consent. Idaho Code § 39-4504, Idaho Jury Instr. 2. 12.8

             (discussing standard for finding liability for lack of informed consent). Idaho also

             has enacted a "Right to Try" law, which allows a terminally ill patient, in

             consultation with their physician, to give "informed consent" to use non-FDA

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             approved drugs and medical products in order to treat their illness. Idaho Code §

             39-9404.

                    In stark contrast to these laws reflecting the core principle of autonomy, the

             Healthcare Ban attacks autonomy by preventing individuals from pursuing, and

             health care professionals from providing, beneficial medical treatment with due

             regard for a patient's interests.

                    Empowering a patient's autonomy is essential to the integrity of the provider-

             patient relationship, as well as the patient's individual liberty and ability to

             determine the course of their life. In keeping with that bioethical principle, "the

             physician's professional role [is] to make recommendations on the basis of the best

             available medical evidence and to pursue options that comport with the patient's

             unique health needs, values, and preferences." Lois Snyder Sulmasy & Thomas A.

             Bledsoe, American College of Physicians Ethics Manual 170, Annals of Internal

             Medicine       86      (7th         ed.   2019)    ("ACP       Ethics      Manual"),

             https://www.acpjournals.org/doi/10.7326/ml8-2160, see also Beauchamp &

             Childless at 105 (respect for autonomy requires health care professionals "to

             disclose information, to probe for and ensure understanding and voluntariness, and

             to foster adequate decision making"). Informed consent is a crucial mechanism for

             ensuring respect for autonomy. In all non-emergency encounters, the provider is

             obligated to offer the patient material information and guidance, but the patient must



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             be trusted and empowered to make the informed and voluntary decision that best

             advances their interests.     See Parth Shah et al., Informed Consent (2021),

             https://www.ncbi.nlm.nih.gov/books/NBK430827/. After the patient makes their

             decision, the provider's duty is to "protect and foster [the] patient's free, uncoerced

             choices." ACP Ethics Manual at 74.

                    Where, as here, the patients at issue include minors, the informed consent

             process usually involves the provider, the minor patient, and the minor's parents.

             When that is so, each actor has an important role to play: the provider offers medical

             instruction, the parents provide stewardship and consent, and the minor assisted

             by that medical instruction and parental stewardship provides assent. See Am.

             Med. Ass'n ("AMA"), Code of Medical Ethics Opinion 2.2.1, Pediatric Decision

             Making,         https://www.ama-assn.org/delivering-care/ethics/pediatric-decisiom

             making (discussing the importance of "[r]espect and shared decision making"

             between parents and minors "in the context of decisions for minors"), Beth A. Clark,

             Ethics in Child & Youth Care Practice with Transgender Youth, 8 Int'l J. of Child,

             Youth & Fam. Studies 74 (2017), http://dx.doi.org/10.18357/ijcyfs82201716754

             (discussing relational ethics).

                    The process of informed consent (which, for minors, also frequently includes

             their parents) involves five core elements: 1) patient competence, 2) disclosure, 3)

             comprehension, 4) voluntariness, and 5) consent. Beauchamp & Childless at 122.


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             As to the first element, parents generally have competence to participate in the

             informed consent process on behalf of their minor children, and many adolescent

             patients also have the competence to participate in the informed consent process,

             including in the context of gender-affirming care. See Jessica Kremer et al.,

             Addressing Legislation That Restrict Access to Care for Transgender Youth, 147

             Pediatric Perspectives (2021), https://pubmed.ncbi.nlm.nih.gov/33883246/ (minor

             patients who are transgender "possess decisional capacity, and with guardian

             consent and the support of a multidisciplinary team, [] are able to contribute to

             decisions in their own best interests about [Gonadotropin Releasing Hormones] and

             gender-affirming hormones"), Beth A. Clark & Alice Virani, This Wasn't a Split-

             Second Decision: An Empirical Ethical Analysis of Transgender Youth Capacity,

             Rights, and Authority to Consent to Hormone Therapy, 18 J. Bioethical Inquiry 151-

             64 (2021), https://pubmed.ncbi.nlm.nih.gov/33502682/ (concluding, based on

             qualitative empirical analysis, that "trans[gender] youth demonstrated the

             understandings and abilities characteristic of the capacity to consent to hormone

             therapy and that they did consent to hormone therapy with positive outcomes"),

             Richard E. Redding, Children's Competence to Provide Informed Consent for

             Mental Health Treatment, 50 Wash. & Lee L. Rev. 695, 707 (1993),

             https://scholarlycommons.law.wlu.edu/cgi/viewcontent. cg?article= 1759&context=

             wlulr ("Research ... indicates that children often are capable of making important


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             life decisions in a rational manner, including decisions about medical and
             psychological treatment.") .

                    Once competence has been established, the elements of disclosure and

             comprehension require the provider to accurately and sensitively present relevant

             information about any diagnosis, the nature and purpose of recommended
             interventions, the burdens, risks, and expected benefits of all options, including

             forgoing treatment, and any limitations to the medical community's knowledge

             regarding burdens, risks, and expected benefits. AMA, Code of Medical Ethics

             Opinion        2.1.1,        Informed   Consent,   https://www.ama-assn.org/delivering

             care/ethics/informed-consent, Anibal Torres Bernal & Deborah Coolhart, Treatment

             and Ethical Considerations with Transgender Children and Youth in Family

             Therapy,       23       J.     of   Fam.   Psychotherapy     296,    287-303   (2012),

             http://dx.doi.org/10. 1080/ 08975353.2012.735594.

                    For the fourth element, voluntariness, the provider must then assess the

             patient's (and, if not a mature minor, the parents') ability to understand relevant

             medical information and the implications of treatment alternatives and to make an

             independent, voluntary decision. AMA Informed Consent. Fifth, and finally, the

             patient and, where the patient is a minor, usually the parents as well decides how

             to proceed.




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                    From the perspective of biomedical ethics, a decision that is made by a patient

             (and, when a minor, jointly with a parent/guardian) through a process of informed

             consent and that aligns with a provider's recommendation should be fully respected.

             Indeed, medical professionals and patients are regularly entrusted to together decide

             the best course of treatment, including when the treatment has significant risks or

             permanent effects. Pediatric chemotherapy or radiation, for example, are subject to

             principles of informed consent, despite the potential lasting effects on growth

             development and reproductive capabilities. See, e.g., Am. Cancer Soc'y, Late

             Ejects         of     Childhood      Cancer        Treatment    (Sept.        18,   2017),

             https://www.cancer.org/treatment/childremand-cancer/when-youbchild-has-

             cancer/late-effects-o8cancer-treatmenthtml. Pediatric breast reduction performed

             to address excess breast tissue, back pain, or social anxiety, pediatric rhinoplasty,

             and orthopedic surgery on minors following sports injuries likewise can have

             enduring impacts. There is nothing unique about gender-affirming care that justifies

             denying coverage even though the provider, and the patient (and the patient's

             parents, when a minor) all agree about the best course of action.

                    By prohibiting health care providers from offering medically necessary and

             appropriate treatment to patients with gender dysphoria and denying patients the

             ability to access such care when they have given informed consent, the Healthcare

             Ban disrespects autonomy and undermines the provider-patient relationship.



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                    B.      The Healthcare Ban Forces Providers to Violate Their Duty of
                            Beneficence.
                    The duty to act in the best interest of the patient is called beneficence, and is

             best understood as "a group of norms pertaining to relieving, lessening, or preventing

             harm and providing benefits and balancing benefits against risks and costs.            77




             Beauchamp & Childless at 13, see also id. at 217 ("[M]orality requires that we treat

             persons autonomously and refrain from harming them, but morality also requires

             that we contribute to their welfare.").3 Medical professionals in the United States

             and around the world take oaths and are held to duties that encompass beneficence.

             The World Medical Association's "Modern Hippocratic Oath" requires physicians

             to attest upon admission to the medical profession that the "health of [their] patient[s]

             will be [their] first consideration." World Medical Association, Declaration of

             Geneva (1948). Likewise, the United Kingdom's General Medical Council requires

             physicians to "make the care of your patient your first concern." Good medical

             practice: Duties ofa doctor registered with the General Medical Council, Gen. Med.

             Council 70-78 (2001 ), https ://www. gmc-uk.org/ethica1-guidance/ethica1-guidance-

             for-doctors/good-medical-practice/duties-of-a-doctor. And the AMA recognizes

             that "[t]he practice of medicine, and its embodiment in the clinical encounter



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              A related principle, nonmaleficence, concerns avoiding the causation of harm.
             Nonmaleficence thus prohibits action while beneficence requires it. The Healthcare
             Ban contravenes both principles.

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             between a patient and a physician, is fundamentally a moral activity that arises from

             the imperative to care for patients and to alleviate suffering." AMA, Code of

             Medical Ethics Opinion 1.1.1, Patient-Physician Relationships, https://www.ama-

             assn.org/system/files/code-oflmedical-ethics-chapter- 1 .pdf.

                    Applying the principle of beneficence to the treatment of patients with gender

             dysphoria is straightforward. When untreated, gender dysphoria has serious mental

             and physical consequences, including anxiety, depression, self-harm, and

             suicidality. See, eg., Norman P. Spack et al., Children and adolescents with gender

             identity disorder referred to a pediatric medical center, 129 Pediatrics (2012),

             https://pubmed.ncbi.nlm.nih.gov/22351896, Kristina R. Olson et al., Mental health

             of transgender children who are supported in their identities,Pediatric Collections:

             LGBTQ+: Support and Care (Part 3: Caring for Transgender Children) (2016)

             https://publications.aap.org/pediatrics/articleabstract/137/3/e20153223/81409/Ment

             al-Health-of-Transgender-Children-Who-Are, Order at ER-024-25 (order finding

             "delaying or withholding such care can be harmful, potentially increasing

             depression, anxiety, self-harm, and suicidal ideation"). By contrast, evidence from

             both research and clinical experience makes clear that gender-affirming care

             improves patients' health and alleviates their suffering. See, e.g., Brandt, 47 F.4th

             at 671, Brandt v. Rutledge, 551 F. Supp. 3d 882, 891 (E.D. Ark. 2021), Kraschel at

             4. In order to practice beneficence, practitioners must act for the benefit of the


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             patient and promote their welfare. This is not possible when the State denies care to

             transgender patients. The Healthcare Ban prohibits providers from administering

             care that would relieve their patient's suffering. Withholding care for gender

             dysphoria thus can result in serious harm to patients, contrary to the core principle

             of beneficence.

                    In sum, the principle of beneficence obligates providers to remove conditions

             that will cause harm to others. Beauchamp & Childless at 219. By mandating that

             providers deny care to their patients with gender dysphoria when the patient seeks

             that care and the provider deems it medically indicated, the Healthcare Ban forces

             providers to cause harm to their patients and, thus, to violate their core duty of

             beneficence.

                    c.      The Healthcare Ban Forces Providers to Violate Their Duty of
                            Justice.
                    A third core principle of bioethics justice requires providers to
             acknowledge inequalities in the delivery of medical care and to work toward fair,

             equitable, and appropriate treatment for all. Beauchamp & Childress at 267-68,

             Clark, Ethics in Child & Youth Care Practice with Transgender Youth at 79. The

             Healthcare Ban undermines this ethical duty of providers by barring transgender

             individuals from receiving gender-affirming care. Specifically, the Ban denies care

             to a certain class of patients based on their transgender identity: care is banned only

             if it is for treatment of gender dysphoria, which is care that only transgender

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             individuals seek.

                    For example, the Ban, if allowed to go into effect, may force individuals who

             are transgender to consider moving out of state or to endure the negative health

             effects from stopping hormone therapy and to fear for their ability to survive without

             treatment. See Order at ER-062. These potential costs are on top of the many

             socioeconomic and geographic barriers to gender-affirming care that transgender

             youth often already face. See Phillip E. Wagner et al., 39.1 Health (Trans)gressions:

             Identity and Stigma Management in Trans* Healthcare Support Seeking 51 (Oct.

             2016) (noting "[t]he difficult decisions trans* individuals make in regard to their

             healthcare have been well documented" and include "[l]inancial barriers, insurance

             issues, and access to services"). The Ban exacerbates and reinforces these already

             significant challenges by preventing transgender individuals from accessing the

             gender-affirming healthcare they require.

                    Also, being denied coverage for gender-affirming care may lead transgender

             people to avoid seeking medical care altogether, or to choose between their health

             care, their food, their safety, or their housing. Order at ER-062, see also Kraschel

             at 5 (noting potential of legislative restrictions on gender-affirming care to

             disproportionally affect marginalized communities). Avoiding or delaying care

             leads "to poorer physical and mental health outcomes." Luisa Kcomt et al.,

             Healthcare avoidance due to anticipated discrimination among transgender,



                                                      29
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             11(100608)        SSM                Population           Health     1      (2020),

             https://www.sciencedirect.com/science/article/pii/S2352827320302457.

                    Medical practitioners must not cause patients to fear seeking care, nor deny

             them care that, by definition, only people who are transgender need. The Healthcare

             Ban forces health care providers to violate the core biomedical ethics principle of

             justice by mandating discrimination against a vulnerable and stigmatized population.

             By prohibiting minors who are transgender from accessing treatment for gender

             dysphoria simply because they are transgender, the Healthcare Ban deprives them

             of their autonomy and signals that they are not worthy of beneficence. Without

             autonomy and beneficence, only injustice can occur.

                                                    * * *


                    The Healthcare Ban is unsupported by biomedical ethics or any of its core

             principles. To the contrary, the Ban commands their violation, for no legitimate

             purpose, resulting in physical and emotional suffering.

                                              CONCLUSION

                    Unwarranted restrictions on the provision of health care by the State are

             unethical and detrimental to public health.       The Healthcare Ban contravenes

             multiple, fundamental principles of biomedical ethics and requires providers to harm

             their transgender patients. Were the State permitted to enforce the Healthcare Ban,




                                                     30
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             it would open the door to unprecedented State intrusion into medicine and patient

             rights. This Court should reject such a result and affirm the District Court's ruling.


             Dated: March 12, 2024                          Respectfully submitted,

                                                            /s/ Kathleen Hartnett

             Katelyn Kang                                   Kathleen Hartnett
             Valeria M. Pelet del Toro                      Zoe Helstrom
             COOLEY LLP                                     COOLEY LLP
             55 Hudson Yards                                3 Embarcadero Center, 20th Floor
             New York, NY 10001-2103                        San Francisco, CA 94111-4004
             Telephone: (212) 479-6000                      Telephone: (415) 693-2000
             ld<ang@cooley.com                              khartnett@cooley.com
             vpeletdeltoro@cooley.com                       zhelstrom@cooley.com

                                                            Elizabeth F. Reinhardt
                                                            COOLEY LLP
                                                            1299 Pennsylvania Avenue, NW
                                                            Washington, DC 20004-2400
                                                            Telephone: (202)776-2353
                                                            ereinhardt@cooley.com

                                                            Counsel for Amici Curiae




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                                   UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

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                                       ADDENDUM
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                                            List ofAmici Curiae

                    Amici include the following individuals, whose affiliations are provided for
             identification purposes only:

             Elizabeth Rona Boskey
             Instructor of Social and Behavioral Sciences
             Harvard T.H. Chan School of Public Health
             Khiara M. Bridges
             Professor of Law
             University of California, Berkeley School of Law

             David S. Cohen
             Professor of Law
             Drexel University, Thomas R. Kline School of Law

             Charlene Galarneau
             Senior Lecturer, Department of Global Health and Social Medicine
             Faculty Member, Center for Bioethics
             Harvard Medical School

             Joanna Grossman
             Ellen K. Solender Endowed Chair in Women and the Law and Professor of Law
             SMU Dedman School of Law

             Lisa C. Ikemoto
             Martin Luther King Jr. Professor of Law
             University of California, Davis School of Law
             Maya Manian
             Professor of Law
             American University Washington College of Law
             Benj amin Mason Meier
             Professor of Health Policy
             The University of North Carolina at Chapel Hill
             Michelle Oberman
             Katharine and George Alexander Professor of Law
             Santa Clara University School of Law
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             Dara Purvis
             Professor of Law
             Penn State Law
             Nadia N. Sawicki
             Georgia Reithal Professor of Law
             Co-Director, Beazley Institute for Health Law & Policy
             Loyola University Chicago School of Law
             Michael R. Ulrich
             Assistant Professor of Health Law, Ethics, & Human Rights
             Boston University School of Public Health and School of Law
             Ruqaiij ah Yearby
             Kara J. Trott Professor in Health Law
             The Ohio State University, Moritz College of Law
